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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
Civil Action No.:
______________________________________________________________________________
DANA FOLEY, ANDREA SAMSON, STEVE OLSON, PAT MCFALL,

       Plaintiffs,
v.
THE CITY OF LOVELAND, a Colorado Municipal corporation
       Defendant.
______________________________________________________________________________
                                 COMPLAINT
______________________________________________________________________________
        Plaintiffs, Dana Foley, Andrea Samson, Steve Olson, and Pat McFall (hereinafter
“Plaintiffs”), by and through their undersigned attorneys, bring this action seeking damages
pursuant to 42 U.S.C. § 1983 for the depravation of Plaintiffs right to freedom of expression and
right to petition under the First and Fourteenth Amendments of the Constitution of the United
States by the Defendants official policy to investigate and prosecute Plaintiffs; declaratory relief
pursuant to 28 U.S.C. §§ 2201 and 2202, declaring the official city policy to investigate and
prosecute Plaintiffs unconstitutional facially and as applied under the United States Constitution;
injunctive relief pursuant to 42 U.S.C. § 1983, prohibiting the City from enforcing the
unconstitutional official policy; and for attorney fees and costs pursuant to 42 U.S.C. § 1988.

                                            PARTIES

    1. At all times relevant, Plaintiff Dana Foley has been an individual citizen and a resident of
the State of Colorado and was a member of the Loveland City Council.

    2. At all times relevant, Plaintiff Andrea Samson has been an individual citizen and a
resident of the State of Colorado and was a member of the Loveland City Council.

    3. At all times relevant, Plaintiff Steve Olson has been an individual citizen and a resident
of the State of Colorado and was a member of the Loveland City Council.

    4. At all times relevant, Plaintiff Pat McFall has been an individual citizen and a resident of
the State of Colorado and was a member of the Loveland City Council.

     5. At all times relevant, Defendant City of Loveland (hereinafter “Loveland” or the "City")
is a Colorado municipal corporation.



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                                JURISDICTION AND VENUE

   6. This action arises under the Constitution and laws of the United States and 42 U.S.C. §
1983. Jurisdiction is conferred on this Court pursuant to 28 U.S.C. §§ 1331 and 1343.

    7. Venue in the United States District Court is proper in that the action complained of took
place in the State of Colorado, and all the parties are residents of the State of Colorado.

                                 FACTUAL ALLEGATIONS

                                  The Loveland City Council
   8. The Loveland City Council is the governing body of the City and has such powers as are
possessed by the City, pursuant to § 3.1(a) of the Municipal Charter for the City of Loveland.

    9. The corporate authority of the City shall be vested in the Loveland City Council, and the
City Council shall possess all the legislative powers of the City and all other corporate powers
pursuant to Chapter 2.08.010 of the Municipal Code for the City of Loveland.

    10. The Loveland City Council shall act only by ordinance, resolution, or motion, and the
Council may select the appropriate form for its action pursuant to § 4-5 of the Municipal Charter
for the City of Loveland.

    11. Motions shall require the affirmative vote of a majority of the members of the Council
present pursuant to § 4-6(b) of the Municipal Charter for the City of Loveland.

    12. A motion is thus a "formal action" and a "final policy decision" that was adopted or
approved at a regular or special meeting pursuant to § 4-4(c) of the Municipal Charter for the
City of Loveland.
                                 The Centerra South Proposal
   13. In January 2004, the Loveland City Council passed a resolution approving the Centerra
Master Financing and Intergovernmental Agreement (the “Centerra MFA”), and a resolution
approving the US 34/Crossroads Corridor Renewal Plan (the “Crossroads Corridor Plan”).

    14. In September 2008, the Loveland City Council passed a resolution approving an
amendment to the Centerra MFA to incorporate additional land, including 140 acres of legally
designated agricultural land near Highway 34 and I-25 (the “Amended Centerra MFA”).

    15. The Centerra MFA and Amended Centerra MFA expire in 2029 – 25 years from the
effective date of the Centerra MFA.

   16. On November 7, 2017, Jacki Marsh was elected mayor of Loveland.

   17. In August 2022, the developer of the Centerra MFA proposed carving out the
undeveloped southern portion of the MFA into a new MFA, Centerra South (the “Centerra South
Proposal”).

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    18. Loveland City Council hearings regarding the Centerra South Proposal began in August
2022 in both the URA Commission (which constituted the City Council Members) as well as in
City Council public meetings.

   19. Mayor Marsh opposed the Centerra South Proposal.

   20. On May 16, 2023, the Loveland City Council approved the Centerra South Proposal.
                                            SB 23-273
    21. As it became apparent that the Centerra South Proposal would be approved by Loveland
City Council, Mayor Marsh approached a freshman state senator, Sen. Janice Marchman, to
sponsor statewide legislation designed to prevent the Centerra South Proposal from being
enacted and limit further development of Centerra South.

   22. Mayor Marsh’s proposed legislation was introduced in the State Senate by Senator
Marchman on April 10, 2023 as SB 23-273.

    23. The purpose of SB 23-273 was to prevent the passage of the Centerra South Proposal and
stop the development of Centerra South.

   24. Mayor Marsh spearheaded the effort to pass SB 23-273 and testified before the senate
committee in support of the bill.

    25. During her testimony before the senate committee, Mayor Marsh intimated that she spoke
on behalf of the entire Loveland City Council as the leader of City Council.
                                      The Governor Petition
   26. On or around April 19, 2023, Plaintiffs, who were all members of the Loveland City
Council at the time, along with former City Council members, sent a letter to the Governor of
Colorado in opposition to SB 23-273 (the “Governor Petition”).

   27. A copy of the Governor Petition is attached hereto as Exhibit 1.

     28. The Governor Petition was sent by the petitioners in their capacity as private individual
citizens, as well as their capacity as members of the Loveland City Council, expressing their
personal views on public legislation.

    29. The Governor Petition specifically stated that the petition was not a governmental act and
further noted that the petition may or may not reflect the views of the entire Loveland City
Council.

   30. The Governor Petition also specifically states the "purpose of this letter is to express the
views of members of the City Council of Loveland regarding SB 23-273."



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   31. The Governor Petition is signed by each Plaintiff as Members of the Loveland City
Council.

   32. The Governor Petition is printed on City of Loveland stationary.

   33. The Governor Petition was signed by Plaintiffs Foley, McFall, and Olson, as well as other
(now former) Loveland City Councilors.
                                       The House Petition
     34. On April 27, 2023, members of the Loveland City Council, including Plaintiffs, sent a
letter to the Colorado House of Representatives in opposition to SB 23-273 (the “House
Petition”).

   35. A copy of the House Petition is attached hereto as Exhibit 2.

     36. The House Petition was sent by the petitioners in their capacity as private individual
citizens, as well as their capacity as Members of the Loveland City Council, expressing their
personal views on public legislation.

    37. The House Petition specifically stated that it was not a governmental act and further
noted that the petition may or may not reflect the views of the entire Loveland City Council.

  38. The House Petition states "The purpose of this letter is to express the bipartisan view of
members of the City Council of Loveland regarding SB 23-273."

   39. The House Petition is signed by Plaintiffs as Members of the Loveland City Council.

   40. The House Petition is printed on City of Loveland stationary.

    41. The House Petition was signed by all Plaintiffs, as well as other (now former) Loveland
City Councilors.

    42. The petitioners met one-on-one to sign both the House Petition and the Governor
Petition.
                                The Governor vetoes SB 23-273
   43. On May 8, 2023, SB 23-273 was passed by the Colorado legislature.

   44. On May 23, 2023, Governor Jared Polis vetoed SB 23-273.
                                     The Jensen Complaint
    45. On December 20, 2023, Loveland resident Bill Jensen filed a Complaint against the
Loveland City Council, arising out of the Governor Petition and the House Petition. See
attached Exhibit 3, hereinafter the “Jensen Complaint”.



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  46. On information and belief, at the time Mr. Jensen filed his Complaint, Mr. Jensen and
Mayor Marsh lived together.

    47. On February 6, 2024, the Loveland City Council moved to dismiss the Jensen Complaint
to dismiss pursuant to C.R.C.P. 12(b)(5).

    48. In his Complaint, Mr. Jensen alleged that the Governor Petition was a petition to veto SB
23-273 and the House Petition was a petition to oppose SB 23-273. See attached Exhibit 3, at
pg. 3. Signing the petitions is alleged to violate COML. Exhibit 3 at p. 4.

   49. On March 22, 2024, Larimer County District Court Judge Carroll Brinegar entered an
Order of Dismissal, dismissing Mr. Jensen’s lawsuit against the Loveland City Council.
                      The official City policy of the Motion to Investigate
    50. On March 19, 2024, Loveland City Council member Troy Krenning successfully moved
the Loveland City Council to appoint a special counsel, Christopher Gregory, to investigate the
Plaintiffs related to the Governor Petition and the House Petition.

    51. Prior to the meeting, Councilor Krenning put forward the following item to be included
on the meeting agenda: “I plan to discuss the Bill Jensen civil cases that have been filed against
the City of Loveland alleging Colorado Open Meeting Law violations against four current and
three former members of the Loveland City Council. The pleadings filed by the city in the
newest case suggest that in fact there were at least two violations of the COML. If this is correct,
then it goes to reason that the Loveland City Charter was also violated. I will ask the Council to
consider appointing special counsel to investigate this issue and report back to the council with
findings, and if violations are concluded, for follow up action.” See Exhibit 4, Loveland City
Council Meeting Agenda, March 19, 2024, p. 14.

    52. On information and belief, “the pleadings filed by the city in the newest case”, which
Councilor Krenning, who is a licensed Colorado attorney, referenced in his agenda item, was the
Motion to Dismiss, filed by the on February 6, 2024, which accepted Mr. Jensen’s allegations as
true for purposes of the Motion.

   53. Councilor Krenning included three attachments to his proposed agenda item.

           a. A copy of the Governor Petition (Exhibit 4, pp. 15-16);
           b. A copy of the House Petition (Exhibit 4, pp. 17-18;
           c. A copy of a Motion to Dismiss filed in the Jensen v. City of Loveland City
              Council, Case No. 2022CV000166 (Exhibit 4, pp. 19-26).

    54. The Governor Petition and the House Petition, as attachments to the proposed agenda
item, are therefore the very matter that were subjected to investigation by Councilor Krenning's
agenda item.

    55. During the March 19, 2024 meeting, prior to discussion on Councilor Krenning’s agenda
item, Mayor Marsh admonished the Plaintiffs, stating: “we are going to have several people who

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are going to have conflict of interest…you know, the first item is about correspondence, letters
uh that were written in April 2023 to the Governor, to the House of Representatives…before we
introduce the item, the item involved four of our current city councilors and three former city
councilors, so we have four councilors that will I ask that they recuse themselves and leave the
chambers so that they do not, um, influence any of the discussion by the remaining councilors.”

   56. Following this admonition, all Plaintiff’s herein recused themselves from debate and vote
on Councilor Krenning’s agenda item. All but Plaintiff Olson left the chambers.

    57. When introducing his agenda item to the remaining council members, Councilor
Krenning specifically referenced Mr. Jensen’s lawsuit, and admitted that it “looks like it is on its
track to be dismissed in not too soon.”

    58. Councilor Krenning then moved to appoint a special counsel, independent of the city
attorney’s office, to investigate and look at the Jensen allegations and report back to counsel and
to determine whether or not criminal action should be taken so that “we’ve investigated Mr.
Jensen’s complaints”.

   59. Specifically, Councilor Krenning’s Motion was as follows:

               that the Loveland City Council, exercising its authority under Loveland
               Charter section 9-1(h) retain Christopher Gregory, Esq., to investigate the
               complaints of Bill Jensen regarding alleged Colorado Open Meeting Law
               and Loveland Charter violations by former council member Rich Ball,
               Don Overcash, John Fogle, and current council members Andrea Samson,
               Pat McFall, Steve Olson, and Dana Foley and that Mr. Gregory report
               back to this council at the first meeting in April his findings and/or
               recommendations regarding these allegations; that the council authorize
               the expenditure of up to no more than $10,000 in fees for Mr. Gregory’s
               services; that Mr. Gregory report directly to the Mayor and Mayor Pro
               Temp and other members of council that have been directed by the Mayor
               during this investigation phase; and that the services of Mr. Gregory be
               terminated at the time he delivers his initial report unless otherwise
               extended by a future motion of the city council.

   60. Councilor Krenning’s motion was seconded by Loveland City Councilor Jon Malo.

    61. During discussion on Councilor Krenning’s motion to appoint special counsel, Mayor
Marsh stated as follows: “during the election in November, the voters voted loud and clear on
301, and they basically were very unhappy about, in my opinion, the Centerra South URA. That
is what prompted the ballot initiative, and it won by over 70% of the voters. So, they felt very
strongly that declaring farmland blight and diverting taxes for 25 years was not in their best
interest, so they took future decisions of new URAs and existing URAs out of the hands of this
council and said ‘you will come to us voters before you do this.’ That makes violating open
meeting laws to influence a decision by the governor to veto a bill, writing letters to the house of
representatives, secretly convening a quorum and coming to a conclusion, and taking action, that

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is the definition of open meeting law violation. They came to a consensus, and they took action,
and we will never know if those letters did in fact in fact influence the Governor and he did in
fact veto…so for that reason I support this investigation.”

    62. During discussion, Loveland City Council member Light-Kovacs expressed her
agreement with “everything that was said,” including those statements of Mayor Marsh and
Councilor Krenning.

   63. Councilor Krenning’s Motion was approved by a vote of 5-0, with Mayor Jacki Marsh,
Councilor Troy Krenning, Councilor Laura Light-Kovacs, Councilor Erin Black, and Councilor
Jon Mallo voting in favor of the Motion. Hereafter, this will be referred to as the Motion to
Investigate.

    64. The Motion to Investigate is an official City policy to investigate Plaintiffs and
recommend actions to the City regarding the allegations that the Governor Petition and the
House Petition are criminal violations of the City Charter.
              The Gregory Report is the official recommendation of the official
                           policy of the Motion to Investigate

    65. As a result of this Motion to Investigate, Mr. Gregory was appointed as special counsel,
charged with investigating whether Plaintiffs violated municipal criminal laws by expressing
their views as private citizens or as members of the Loveland City Council in the Governor
Petition and/or the House Petition.

    66. On March 26, 2024, Mr. Gregory issued his report, attached as Exhibit 5 (The Gregory
Report), which concluded that the Plaintiffs violated municipal criminal laws in relation to the
Petitions.

    67. The Gregory Report is the official recommendation of the official policy of the Motion to
Investigate and thus is official policy pursuant to the Motion to Investigate. The Motion to
Investigate is an official City policy to sanction and punish protected Free Speech and/or Petition
activity, specifically, "circulating, conferring on, and collectively signing letters that lobbied
Governor Polis and the Colorado House of Representatives to oppose then pending Senate Bill
23-273." Exhibit 5 at page 3. The Governor Petition and the House Petition are "public policy
discussions" regarding the position as to SB 23-273. Exhibit 5 at p. 14.

   68. The Gregory Report concluded that sanction and punishment was warranted for such Free
Speech and/or Petition activity, as follows: “probable cause exists to suspect that the listed
former and current Council members have willfully violated provisions of the Municipal Charter
requiring actions taken by the City Council occur only at properly noticed regular and special
meetings and that such meetings are open to the public.” Exhibit 5, p. 1.

   69. The Gregory Report found probable cause to suspect violations of §§ 4-2, 4-4, 4-5, and
15-7 of the Loveland Municipal Charter. Exhibit 5, p. 17.


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    70. If convicted, Plaintiffs would be required to be removed as sitting Council members and
disqualified from ever seeking election to the City Council again. See Exhibit 5, at p. 16.

     71. The Gregory Report further stated that “probable cause further exists to suspect that the
listed Council members have repeatedly and willingly violated § 2.14.020 of the Loveland
Municipal Code (LCC) (Open Public Meetings Required).” Exhibit 5, p. 1. This provision
provides that punishment is mandatory, as a violation "shall be punished …” by a fine or
imprisonment or both.” LCC § 2.14.020(F).

    72. The Gregory Report stated that “Counsel finds that there is probable cause to seek the
prosecution of former and current Council members Ball, Overcash, Fogle, Samson, McFall,
Olson, and Foley for violations of both the Loveland Municipal Charter and the Loveland
Municipal Code” and that “it will be necessary for this City Council to ensure that outside
conflict-free investigators, prosecutors, and adjudicators are appointed to guarantee a fair and
transparent process.” See Exhibit 5, at p. 17.

    73. The Gregory Report stated, “probable cause exists to seek the filing of criminal charges
against Council members Ball, Overcash, Fogle, Samson, McFall, Olson, and Foley for their
suspected violations of LCC § 2.14.020.” Exhibit 5, at p. 18. This is a sanction and punishment
for "signing the April 2023 letters …" Exhibit 5 at p. 3.

      74. If convicted, Plaintiffs would face a $300 fine and up to 90 days in jail. Exhibit 5, at p.
17.

   75. The Gregory Report specifically notes that despite the dismissal of 23CV246, the alleged
COML violations for sending first a letter to the Governor and then a second letter to the House
opposing then-pending SB 23-273 are not moot and not barred by the statute of limitations.
Exhibit 5 at p. 2 n. 2; and p. 4. This sanction and punishment is for "circulating, conferring on,
and collectively signing letters that lobbied Governor Polis and the Colorado House of
Representatives to oppose then pending Senate Bill 23-273." Exhibit 5 at p. 3.

    76. The Gregory Report specifically notes the Governor Petition was successful. Exhibit 5 at
p. 4. The Gregory Report found the purpose of the Governor Petition and the House Petition was
to influence a legislative outcome regarding SB 23-273. Exhibit 5 at p. 16.
                         The official City policy of the Motion to Prosecute

    77. On March 22, 2024, before Mr. Gregory had ever issued his report, Mayor Marsh
requested and the Loveland City Council convened a special meeting for the purpose of
reviewing the findings of Mr. Gregory’s report.

      78. On March 26, 2024, Mr. Gregory presented his findings in front of City Council.

   79. This meeting occurred before any of the Plaintiffs received a copy of The Gregory
Report.


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    80. During the discussion, Mayor Marsh specifically inquired “do you think, you know there
were uh two letters sent – one to the Governor and one to the House of Representatives – do you
think, um, we know it passed the house, we know it passed the senate, do you think it had
influence on the Governor, because he ultimately vetoed Senate Bill 23-273?”

    81. At the March 26 meeting, the City Council scheduled another Special Meeting for March
29, 2024 to allow more time to review the Investigation Report, discuss the findings, and
potentially take action. See Exhibit 6, Loveland City Council Meeting Agenda, March 29, 2024,
Agenda Item No. 3.1.

    82. At the March 29, 2024 meeting, Mayor Marsh stated “I think the ramifications of that
pre-decision are huge. It is $155 million of tax money over the next 25 years. I think we heard
from the public during comments in those meetings back last year that they were vehemently
opposed to Centerra South getting those tax subsidies for 25 years….”

    83. During the March 29 meeting, Mayor Marsh also cited to examples of prior violations of
the open meeting sections of the Loveland City Charter and the Loveland Municipal Code that
occurred during the time she was Mayor. On information and belief, these alleged violations
were neither investigated nor prosecuted.

    84. At the March 29, 2024 meeting, Councilor Black made the following Motion: “I would
move that council hire Kathy Haddock as a special prosecutor in regards to the report given to us
by, by Gregory.”

   85. The Motion was seconded by Councilor Light-Kovacs.

     86. During discussion on the Motion, Mayor Marsh made the following statement: “the
governor did veto it. So, there we have $155 million in tax money is subject to be given to a
developer. But there’s greater ramifications. The Governor’s veto affects every single city in the
state of Colorado. Other cities are going to deal with this, where you take land out of a URA,
where that developer has had preferential treatment for 10, 20, almost 25 years, and you’re going
to give him a new 25 year period. That Governor’s veto affects more than the city of Loveland,
it is a statewide concern. That’s why URA law is a statewide concern. That veto hurts not only
the people of Loveland in this instant, by approving Centerra South URA, but every city could
not have a problem with this. So it’s a serious issue. I gave you an example of earlier of what
they did, you know, kept people not just me, but other people off boards and commissions. This
is far more serious than that. This has major ramifications – to the taxpayers of Loveland, to the
city of Loveland, and to every city in the state of Colorado. It should not have happened this
way…so, I will certainly support this Motion.”

    87. The Motion passed 5-0, approved by a vote of 5-0, with Mayor Jacki Marsh, Councilor
Troy Krenning, Councilor Laura Light-Kovacs, Councilor Erin Black, and Councilor Jon Mallo
voting in favor of the Motion. Hereafter, this will be referred to as the Motion to Prosecute.




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    88. Thus, during the March 29, 2024 meeting, former Boulder city attorney Kathy Haddock
 was appointed by Defendants to serve as special prosecutor to prosecute the criminal charges
 against the Plaintiffs.
                      The Special Prosecutor finds a lack of probable cause
     89. On April 14, 2024, Ms. Haddock issued a letter to the Loveland City Council explaining
 that she was declining to pursue criminal charges against the Plaintiffs, attached as Exhibit 7
 (The Haddock Report).

     90. The Haddock Report found that the actions alleged by the Defendants did not constitute a
 violation of the Colorado Open Meetings Law and, thus, did not constitute a violation of the
 Loveland City Charter.

    91. Plaintiffs affirmatively allege that the charges detailed in the Motion to Investigate, the
 Gregory Report, and the Motion to Prosecute, lacked probable cause. Plaintiffs incorporate The
 Haddock Report's finding of a lack of probable cause.
 The Loveland City Council has not investigated or prosecuted any other alleged violations
             of the Loveland City Charter by members of the City Council

    92. On June 4, 2024, a lawsuit was filed in Larimer County District Court – Ball v. City of
 Loveland, 2024CV30466 – alleging willful violations of the Loveland City Charter by Mayor
 Marsh, Councilor Krenning, Councilor Mallo, Councilor Light-Kovacs, and Councilor Black.

     93. The Loveland City Council has not investigated or prosecuted any of these alleged
 violations of the City Charter pursuant to § 15-7 of the Charter.

    94. On June 4, 2024, a lawsuit was filed in Larimer County District Court – Gazlay v. City of
 Loveland, 2024CV30469 – alleging willful violations of the Loveland City Charter by Councilor
 Troy Krenning.

     95. The Loveland City Council has not investigated or prosecuted this alleged violation of
 the City Charter pursuant to § 15-7 of the Charter.

     96. On information and belief, the Loveland City Council has not investigated or prosecuted
 alleged violations of §§ 4-2, 4-4, and/or 4-5 of the Charter in at least the last 10 years, if ever.

     97. On information and belief, the Loveland City Council has not investigated or prosecuted
 alleged violations of § 2.14.020 of the Loveland Municipal Code in at least the last 10 years, if
 ever.
                                              Damages
     98. All Plaintiffs incurred damages as a result of the Motion to Investigate, the Gregory
 Report, and the Motion to Prosecute as Plaintiffs retained counsel to represent them as a direct
 result of the policies.


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                                FIRST CLAIM FOR RELIEF
                     (First Amendment Violation under 42 U.S.C. § 1983)
                 Unlawful City Policy to Sanction and Punish Right of Petition

    99.         Plaintiffs incorporate by reference all of the allegations set forth above.

     100.       At all times relevant hereto, Plaintiffs were engaged in the constitutionally
 protected activity of petitioning the Colorado Governor and Legislature to express their views on
 statewide legislation.

    101.         Loveland, through its city councilmembers, formed an official policy to retaliate
 against Plaintiffs by sanctioning and punishing the right to petition. The official policy is the
 Motion to Investigate, the Gregory Report, and the Motion to Prosecute. The official policy is to
 appoint an investigator and prosecutor to investigate and prosecute Petitions sent to the Governor
 and the House as criminal activity under both the Loveland Municipal Charter and the Loveland
 Municipal Code.

    102.         The official city policy caused the Plaintiffs to be subjected to a denial of a
 constitutional right.

     103.         The official policy of the Motion to Investigate, the Gregory Report, and the
 Motion to Prosecute seeks to criminalize citizen petition activity based on viewpoint, that is, the
 official policy is a sanction and punishment for the viewpoint advocated by the Petitions
 regarding opposition to SB 23-273.

     104.       As set forth above, the official city policy of the Motion to Investigate, the
 Gregory Report, and the Motion to Prosecute is a sanction and punishment against Plaintiffs by
 pursuing criminal charges against them for engaging in their constitutionally protected right to
 petition the government by signing the Governor and House Petitions.

     105.         Criminal prosecution, the threat of jail time, and a civil fine are actions that would
 chill a person of ordinary firmness from continuing to engage in the constitutionally protected
 right to petition the government.

    106.         The Motion to Prosecute's appointment of a special prosecutor to criminally
 prosecute the Plaintiffs is a sanction and punishment for Plaintiffs’ exercise of their
 constitutionally protected right to petition the government.

     107.         The Motion to Investigate's appointment of special counsel to investigate the
 Plaintiffs is a sanction and punishment for the Plaintiffs’ expression of the viewpoint in
 opposition to SB 23-273.

    108.       The official policy of the Motion to Investigate, the Gregory Report, and the
 Motion to Prosecute seek to sanction and punish the Plaintiffs for petitioning in opposition to SB
 23-273 and supporting the Centerra South Proposal. Therefore, the official City policy seeks to
 sanction and punish petition activity based on viewpoint.

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     109.       The criminal charges that the official policy of the Motion to Investigate, the
 Gregory Report, and the Motion to Prosecute pursued against Plaintiffs arose out of the one-on-
 one meetings where Plaintiffs discussed and signed the Governor and House Petitions and, thus,
 were directly connected to the constitutionally protected right to petition the government
 regarding a matter of public concern.

     110.        As a result of the official policy to sanction and punish Plaintiffs, they suffered
 injuries that would chill a person of ordinary firmness from continuing to engage in the
 constitutionally protected right to petition the government.

    111.         At all times relevant hereto, the actions of the official city policy of the Motion to
 Investigate, the Gregory Report, and the Motion to Prosecute were done under color of State law.

    112.         As a direct and proximate result of the official city policy of the Motion to
 Investigate, the Gregory Report, and the Motion to Prosecute, Plaintiffs suffered injuries and
 damages, which shall be proven at trial.

     113.       Accordingly, Plaintiffs requests a declaration pursuant to 42 U.S.C. § 1983, that
 Defendant, acting under color of the Motion to Investigate, the Gregory Report, and the Motion
 to Prosecute, and pursuant to official policy or custom, deprived Plaintiffs of their right to
 freedom of petition and expression pursuant to U.S. Const. amend. I and XIV; and so acting
 under color law, deprived Plaintiffs of their rights, privileges, and immunities secured by the
 Constitution and Laws of the United States.

     114.      The depravation of Plaintiffs constitutional rights caused injury and damage,
 compensable to Plaintiffs by Defendant pursuant to 42 U.S.C. § 1983, in amounts to be
 determined.

     115.       The depravation of Plaintiffs constitutional rights entitles Plaintiffs to attorney
 fees and costs pursuant to 42 U.S.C. § 1988, in amounts to be determined.

                             SECOND CLAIM FOR RELIEF
                   (First Amendment Violation under 42 U.S.C. § 1983)
   Unlawful City Policy to Sanction and Punish Elected Representatives for Speaking and
                      Petitioning on Questions of Government Policy

    116.        Plaintiffs incorporate by reference all of the allegations set forth above.

     117.       The First Amendment of the United States Constitution protects elected
 representatives, such as Plaintiffs, all of whom are Loveland City Councilors, from sanction and
 punishment for exercising their right to free and protected speech on questions of government
 policy, and from petitioning on questions of government policy.

    118.       The Governor Petition and the House Petition were about state legislation on
 which the City has no policy making function.

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    119.        SB 23-273 was public legislation and of high interest to the Loveland community.

    120.        SB 23-273, therefore, was a matter of public concern.

    121.        The Plaintiffs’ interest in freedom of expression and the right to petition is at its
 zenith where the matter is of public concern.

     122.         The City formed an official policy to sanction and punish Plaintiffs. The official
 policy is the Motion to Investigate, the Gregory Report, and the Motion to Prosecute. The
 official policy is to appoint an investigator and prosecutor to investigate and prosecute Petitions
 sent to the Governor and the House as criminal activity under both the Loveland Municipal
 Charter and the Loveland Municipal Code.

     123.        The official policy of the Motion to Investigate, the Gregory Report, and the
 Motion to Prosecute seek to criminalize exercising their right to free and protected speech and
 petition activity on questions of government policy as City Council Members based on
 viewpoint, that is, the official policy is a sanction and punishment for the viewpoint advocated
 by the Petitions regarding opposition to SB 23-273.

   124.        The official city policy of the Motion to Investigate, the Gregory Report, and the
 Motion to Prosecute, is a sanction and punishment against Plaintiffs for exercising their First
 Amendment rights to speak freely and to petition as Loveland City Councilors about SB 23-273.

    125.         The official city policy caused the Plaintiffs to be subjected to a denial of a
 constitutional right to expression and the right to petition.

     126.        As a result of the official policy to sanction and punish Plaintiffs, they suffered
 injuries that would chill a person of ordinary firmness from continuing to engage in the
 constitutionally protected right to free and protected speech and to petition on questions of
 government policy as elected representatives.

     127.        Criminal prosecution, the threat of jail time, and a civil fine are actions that would
 chill an elected representative from continuing to engage in the constitutionally protected right to
 free and protected speech and to petition on questions of government policy.

     128.         The Motion to Investigate's appointment of special counsel to investigate the
 Plaintiffs is a sanction and punishment for the Plaintiffs’ expression of the viewpoint in
 opposition to SB 23-273.

    129.        The Motion to Prosecute's appointment of a special prosecutor to criminally
 prosecute the Plaintiffs is a sanction and punishment for Plaintiffs’ exercise of their First
 Amendment rights to speak freely as Loveland City Councilors about SB 23-273.




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    130.       As a direct result of the official city policy of the Motion to Investigate, the
 Gregory Report, and the Motion to Prosecute, Plaintiffs suffered injuries and damages in an
 amount to be determined at trial.

     131.       Accordingly, Plaintiffs request a declaration pursuant to 42 U.S.C. §1983, that
 Defendant, acting under color of the Motion to Investigate, the Gregory Report, and the Motion
 to Prosecute, and pursuant to official policy or custom, deprived Plaintiffs of their right to
 freedom of petition and expression pursuant to U.S. Const. amend. I and XIV; and so acting
 under color law, deprived Plaintiffs of their rights, privileges, and immunities secured by the
 Constitution and Laws of the United States.

     132.      The depravation of Plaintiffs constitutional rights caused injury and damage,
 compensable to Plaintiffs by Defendant pursuant to 42 U.S.C. § 1983, in amounts to be
 determined.

     133.       The depravation of Plaintiffs constitutional rights entitles Plaintiffs to attorney
 fees and costs pursuant to 42 U.S.C. § 1988, in amounts to be determined.


                                 THIRD CLAIM FOR RELIEF
               (§§ 15-7 and 4-4 of the Loveland City Charter is Unconstitutional)


     134.         Plaintiffs incorporate by reference the foregoing paragraphs, as if restated herein
 in their entirety.

     135.        The First Amendment of the United Sates Constitution, as applied to the States
 and their political subdivisions through the Fourteenth Amendment of the United States
 Constitution, protects a citizen from being sanctioned or punished by a governmental entity or
 individual acting in his or her official capacity as an agent of that governmental entity, because of
 said citizen’s exercise of free speech or petition to the government.

    136.       Article II, § 10 of the Colorado Constitution guarantees Colorado citizens the
 same rights guaranteed by the First Amendment of the United States Constitution.

    137.        Section 4-4 of the Loveland City Charter provides that “all regular and special
 meetings of the Council shall be open to the public, and persons shall have a reasonable
 opportunity to be heard at each meeting under such rules as the Council may prescribe.”

     138.        Section 15-7 of the Loveland City Charter provides that “any willful violation of a
 provision of this Charter shall be deemed a misdemeanor and may be prosecuted in the
 Municipal Court. Any person convicted of such a violation may be punished by imprisonment
 for a term not to exceed the maximum term of imprisonment that the Municipal Court is
 authorized to impose pursuant to Section 4-14, by a fine in an amount not to exceed the
 maximum fine that the Municipal Court is authorized to impose pursuant to Section 4-14, or by
 both such fine an imprisonment.”


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     139.       In contrast to Colorado’s Open Meetings Law, C.R.S. § 24-6-402, the Loveland
 City Charter does not define the term “meeting,” or limit the definition of the term “meeting”
 discussion of public business.

     140.        As applied in this case, §§ 15-7 and 4-4 of the Loveland City Charter is
 unconstitutional as it was used to sanction and punish Plaintiffs herein for exercising their right
 to petition the government and speak freely on matters of public concern.

     141.        As applied in this case, §§ 15-7 of the Loveland City Charter is an impermissible
 infringement and abridgement of Plaintiffs’ right to free speech and right to petition the
 government under the First and Fourteenth Amendments of the United States Constitution and
 Article II, § 10 of the Colorado Constitution.

     142.        On its face, § 15-7 of the Loveland City Charter is facially invalid because it
 infringes on the rights guaranteed by the First Amendment to the United States Constitution and
 Article II, § 10 of the Colorado Constitution.

    143.        On its face, § 15-7 of the Loveland City Charter is facially invalid because it is
 unconstitutionally vague in that it is not clear and explicit about what conduct is prohibited and
 punishable in violation of the Fifth and Fourteenth Amendments of the United States
 Constitution.

     144.        Accordingly, Plaintiffs request a declaration pursuant to 42 U.S.C. §1983, that
 Defendant, acting under color of § 15-7 of the Loveland City Charter, and pursuant to official
 policy or custom, deprived Plaintiffs of their right to freedom of petition and expression pursuant
 to U.S. Const. amend. I and XIV; and so acting under color law, deprived Plaintiffs of their
 rights, privileges, and immunities secured by the Constitution and Laws of the United States.

     145.      The depravation of Plaintiffs constitutional rights caused injury and damage,
 compensable to Plaintiffs by Defendant pursuant to 42 U.S.C. § 1983, in amounts to be
 determined.

     146.       The depravation of Plaintiffs constitutional rights entitles Plaintiffs to attorney
 fees and costs pursuant to 42 U.S.C. § 1988, in amounts to be determined.
                                FOURTH CLAIM FOR RELIEF
                       (As applied and facial challenge to LCC § 2.14.020)

     147.         Plaintiffs incorporate by reference the foregoing paragraphs, as if restated here in
 in their entirety.

     148.        The First Amendment of the United Sates Constitution, as applied to the States
 and their political subdivisions through the Fourteenth Amendment of the United States
 Constitution, protects a citizen from being sanctioned or punished by a governmental entity or
 individual acting in his or her official capacity as an agent of that governmental entity, because of
 said citizen’s exercise of free speech or petition to the government.


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    149.       Article II, § 10 of the Colorado Constitution guarantees Colorado citizens the
 same rights guaranteed by the First Amendment of the United States Constitution.

     150.        Section 2.14.020 of the Loveland Municipal Code provides that “all meetings of a
 quorum of any board, committee, commission, or other policymaking or rulemaking body of any
 agency or authority of the city, or city council, at which any public business is discussed is
 declared to be a public meeting open to the public at all times except as otherwise provided in
 this section…any person who willfully or knowingly violates any of the provisions of this
 section is guilty of a violation of this section and shall be punished by a fine of not less than
 $25.00 nor mote than $300.00 or by imprisonment not to exceed 90 days, or by both such fine
 and imprisonment.”

    151.        As applied in this case, LMC § 2.14.020 is unconstitutional as it was used to
 sanction and punish Plaintiffs herein for exercising their right to petition the government and
 speak freely on matters of public concern.

     152.        As applied against the Plaintiffs, LMC § 2.14.020 is an impermissible
 infringement and abridgement of Plaintiff’s right to free speech and right to petition the
 government under the First and Fourteenth Amendments of the United States Constitution and
 Article II, § 10 of the Colorado Constitution.

     153.        On its face, LMC § 2.14.020 is facially unconstitutional because it infringes on
 the rights guaranteed by the First Amendment to the United States Constitution and Article II, §
 10 of the Colorado Constitution.

     154.        On its face, LMC § 2.14.020 is facially unconstitutional because it seeks to
 criminally punish and imprison individuals for exercising their right to free speech, assembly,
 and petition, as guaranteed by the First Amendment, incorporated to the states through the
 Fourteenth Amendment, and Article II, § 10 of the Colorado Constitution

    155.        Accordingly, Plaintiffs request a declaration pursuant to 42 U.S.C. §1983, that
 Defendant, acting under color of LMC § 2.14.020, and pursuant to official policy or custom,
 deprived Plaintiffs of their right to freedom of petition and expression pursuant to U.S. Const.
 amend. I and XIV; and so acting under color law, deprived Plaintiffs of their rights, privileges,
 and immunities secured by the Constitution and Laws of the United States.

     156.      The depravation of Plaintiffs constitutional rights caused injury and damage,
 compensable to Plaintiffs by Defendant pursuant to 42 U.S.C. § 1983, in amounts to be
 determined.

     157.       The depravation of Plaintiffs constitutional rights entitles Plaintiffs to attorney
 fees and costs pursuant to 42 U.S.C. § 1988, in amounts to be determined.




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                                   PRAYER FOR RELIEF
    WHEREFORE, Plaintiffs pray for judgment in their favor as follows:
       A. Declaratory relief declaring the official city policy of the Motion to Investigate, The
          Gregory Report, and the Motion to Prosecute unconstitutional facially and as applied;
       B. Declaratory relief declaring the official city policy of LMC § 2.14.020
          unconstitutional facially and as applied
       C. Declaratory relief declaring the official city policy of § 15-7 of the Loveland City
          Charter unconstitutional facially and as applied;
       D. Declaratory relief declaring the official policy of LMC § 2.14.020 unconstitutionally
          facially and as applied;
       E. Injunctive relief prohibiting enforcement of the official city policy of the Motion to
          Investigate, The Gregory Report, and the Motion to Prosecute;
       F. Injunctive relief prohibiting enforcement of the official city policy of § 15-7 of the
          Loveland City Charter;
       G. Injunctive relief prohibiting enforcement of the official city policy of LMC §
          2.14.020;
       H. Reasonable attorney’s fees and costs of this action as permitted under federal and
          state law and in particular 42 U.S.C. § 1988;
       I. Statutory pre-and post-judgment interest; and
       J. Such other and further relief as the court deems proper in the circumstances.
                                       JURY DEMAND
      PLAINTIFFS DEMAND TRIAL BY JURY ON ALL CLAIMS AND ISSUES SO
 TRIABLE.
       Dated this 27th day of August 2024.
                                                    Respectfully submitted,
                                                    s/ John S. Zakhem____
                                                    John S. Zakhem
                                                    Andrew Nickel
                                                    CKBR, LLC
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